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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

In re                               )
                                    )                  Chapter 11
24 HOUR FITNESS WORLDWIDE, INC., et )
al.,                                )                  Case No.: 20-11558 (KBO)
                                    )
           Debtors.                 )                  (Jointly Administered)
                                    )
                                    )
24 HOUR FITNESS WORLDWIDE, INC.,    )
                                    )
           Plaintiff,               )
                                    )
v.                                  )
                                    )
CONTINENTAL CASUALTY COMPANY;       )                  Adv. Proc. No. 20-51051 (KBO)
ENDURANCE AMERICAN SPECIALTY        )
INSURANCE COMPANY; STARR SURPLUS )
LINES INSURANCE COMPANY; ALLIANZ )
GLOBAL RISKS US INSURANCE           )
COMPANY; LIBERTY MUTUAL             )
INSURANCE COMPANY; BEAZLEY-         )
LLOYD’S SYNDICATES 2623/623; ALLIED )
WORLD NATIONAL ASSURANCE            )
COMPANY; QBE SPECIALTY INSURANCE )
COMPANY; and GENERAL SECURITY       )
INDEMNITY COMPANY OF ARIZONA,       )
                                    )
           Defendants.              )
                                    )

                                  NOTICE OF SERVICE

        PLEASE TAKE NOTICE that the undersigned hereby certifies that on June 28, 2022, a
copy of Plaintiff’s Second Set of Interrogatories to Defendant Allied World Assurance Company,

was served upon the following persons via email:

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                                              COUNSEL FOR PLAINTIFF 24 HOUR
                                              FITNESS WORLDWIDE, INC.




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